JS 44 (Rev. 04/21)                    Case 3:21-cv-01784 Document
                                                       CIVIL COVER1-1 SHEET
                                                                       Filed 12/08/21                                                                       Page 1 of 1
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                               DEFENDANTS
       GRACE MORGAN, MELISSA LEWIS                                                                              ANDY NGO

    (b)   County of Residence of First Listed Plaintiff              Multnomah                                  County of Residence of First Listed Defendant                    Multnomah
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                          (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                NOTE:           IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                THE TRACT OF LAND INVOLVED.

    (c)   Attorneys (Firm Name, Address, and Telephone Number)                                                    Attorneys (If Known)
          Alan Lloyd Kessler, 1001 SE Sandy Blvd, STE 210,
          Portland OR 97214, (503) 860-1020

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                             and One Box for Defendant)
    1   U.S. Government                ✖   3   Federal Question                                                                    PTF                 DEF                                         PTF      DEF
          Plaintiff                              (U.S. Government Not a Party)                      Citizen of This State            1                   1      Incorporated or Principal Place         4     4
                                                                                                                                                                  of Business In This State

    2   U.S. Government                    4   Diversity                                            Citizen of Another State                     2          2   Incorporated and Principal Place           5         5
          Defendant                              (Indicate Citizenship of Parties in Item III)                                                                    of Business In Another State

                                                                                                    Citizen or Subject of a                      3          3   Foreign Nation                             6         6
                                                                                                      Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                               Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                  TORTS                            FORFEITURE/PENALTY                                BANKRUPTCY                       OTHER STATUTES
    110 Insurance                       PERSONAL INJURY                   PERSONAL INJURY              625 Drug Related Seizure                      422 Appeal 28 USC 158             375 False Claims Act
    120 Marine                          310 Airplane                     365 Personal Injury -             of Property 21 USC 881                    423 Withdrawal                    376 Qui Tam (31 USC
    130 Miller Act                      315 Airplane Product                 Product Liability         690 Other                                         28 USC 157                        3729(a))
    140 Negotiable Instrument                Liability                   367 Health Care/                                                              INTELLECTUAL                    400 State Reapportionment
    150 Recovery of Overpayment         320 Assault, Libel &                 Pharmaceutical                                                          PROPERTY RIGHTS                   410 Antitrust
        & Enforcement of Judgment            Slander                         Personal Injury                                                     ✖   820 Copyrights                    430 Banks and Banking
    151 Medicare Act                    330 Federal Employers’               Product Liability                                                       830 Patent                        450 Commerce
    152 Recovery of Defaulted                Liability                   368 Asbestos Personal                                                       835 Patent - Abbreviated          460 Deportation
         Student Loans                  340 Marine                           Injury Product                                                              New Drug Application          470 Racketeer Influenced and
         (Excludes Veterans)            345 Marine Product                   Liability                                                               840 Trademark                         Corrupt Organizations
    153 Recovery of Overpayment              Liability                  PERSONAL PROPERTY                       LABOR                                880 Defend Trade Secrets          480 Consumer Credit
        of Veteran’s Benefits           350 Motor Vehicle                370 Other Fraud               710 Fair Labor Standards                          Act of 2016                       (15 USC 1681 or 1692)
    160 Stockholders’ Suits             355 Motor Vehicle                371 Truth in Lending              Act                                                                         485 Telephone Consumer
    190 Other Contract                      Product Liability            380 Other Personal            720 Labor/Management                          SOCIAL SECURITY                       Protection Act
    195 Contract Product Liability      360 Other Personal                   Property Damage               Relations                                 861 HIA (1395ff)                  490 Cable/Sat TV
    196 Franchise                           Injury                       385 Property Damage           740 Railway Labor Act                         862 Black Lung (923)              850 Securities/Commodities/
                                        362 Personal Injury -                Product Liability         751 Family and Medical                        863 DIWC/DIWW (405(g))                Exchange
                                            Medical Malpractice                                            Leave Act                                 864 SSID Title XVI                890 Other Statutory Actions
        REAL PROPERTY                     CIVIL RIGHTS                  PRISONER PETITIONS             790 Other Labor Litigation                    865 RSI (405(g))                  891 Agricultural Acts
    210 Land Condemnation               440 Other Civil Rights           Habeas Corpus:                791 Employee Retirement                                                         893 Environmental Matters
    220 Foreclosure                     441 Voting                       463 Alien Detainee                Income Security Act                       FEDERAL TAX SUITS                 895 Freedom of Information
    230 Rent Lease & Ejectment          442 Employment                   510 Motions to Vacate                                                       870 Taxes (U.S. Plaintiff             Act
    240 Torts to Land                   443 Housing/                         Sentence                                                                     or Defendant)                896 Arbitration
    245 Tort Product Liability              Accommodations               530 General                                                                 871 IRS—Third Party               899 Administrative Procedure
    290 All Other Real Property         445 Amer. w/Disabilities -       535 Death Penalty                 IMMIGRATION                                    26 USC 7609                      Act/Review or Appeal of
                                            Employment                   Other:                        462 Naturalization Application                                                      Agency Decision
                                        446 Amer. w/Disabilities -       540 Mandamus & Other          465 Other Immigration                                                           950 Constitutionality of
                                            Other                        550 Civil Rights                  Actions                                                                         State Statutes
                                        448 Education                    555 Prison Condition
                                                                         560 Civil Detainee -
                                                                             Conditions of
                                                                             Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖   1 Original             2 Removed from                       3     Remanded from               4 Reinstated or                      5 Transferred from
                                                                                                                                                      6 Multidistrict                              8 Multidistrict
      Proceeding             State Court                              Appellate Court               Reopened                             Another District Litigation -                               Litigation -
                                                                                                                                         (specify)        Transfer                                   Direct File
                                           Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                           17 U.S.C. §106
VI. CAUSE OF ACTION                        Brief description of cause:
                                           Unauthorized copying, use, and publication of copyrighted materials.
VII. REQUESTED IN                               CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                             CHECK YES only if demanded in complaint:
     COMPLAINT:                                 UNDER RULE 23, F.R.Cv.P.                               Injunctive Relief and Damages
                                                                                                                                                            JURY DEMAND:                 ✖   Yes          No
VIII. RELATED CASE(S)
                                               (See instructions):
      IF ANY                                                           JUDGE                                                                         DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
12/08/2021                                                               /s Alan Lloyd Kessler/
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                      APPLYING IFP                                             JUDGE                           MAG. JUDGE
